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     and ROBERTS SPACE INDUSTRIES CORP.
 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
     CRYTEK GMBH,                            )   Case No. 2:17-CV-08937
11                                           )
          vs.                                )   [HON. DOLLY M. GEE]
12                                           )
     CLOUD IMPERIUM GAMES CORP. and          )   [PROPOSED] ORDER GRANTING
13   ROBERTS SPACE INDUSTRIES CORP.,         )   DEFENDANTS’ MOTION TO
                                             )   DISMISS THE SECOND
14              Defendants.                  )   AMENDED COMPLAINT IN
                                             )   PART
15                                           )
                                             )   (FRCP 12(B)(6))
16                                           )
                                             )   [NOTICE OF MOTION, MOTION,
17                                           )   AND MEMORANDUM OF
                                             )   POINTS AND AUTHORITIES IN
18                                           )   SUPPORT FILED
                                             )   CONCURRENTLY HEREWITH]
19                                           )
                                             )   Date:      October 12, 2018
20                                           )   Time:      9:30 AM
                                             )   Courtroom: 8C
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 1                                           ORDER
 2         The Motion to Dismiss the Second Amended Complaint in Part filed by
 3   Defendants Cloud Imperium Games Corp. and Roberts Space Industries Corp. (together,
 4   “Defendants”) in this matter came on regularly for hearing before this Court on
 5   October 12, 2018.
 6         Having considered the moving and opposition papers, arguments, and all other
 7   matters presented to the Court, the Court finds that Plaintiff Crytek GmbH has failed to
 8   state a claim upon which relief can be granted for breach of contract based on Section 2.4
 9   of the parties’ Game License Agreement.
10         IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss the Second
11   Amended Complaint in Part is GRANTED. Plaintiff’s claim for breach of contract based
12   on Section 2.4 of the Game License Agreement in the Second Amended Complaint is
13   ordered dismissed [with] [without] prejudice.
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     Dated:
                                                  Hon. Dolly M. Gee
17                                                Judge, United States District Court
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      [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
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